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 3
                                 UNITED STATES DISTRICT COURT
 4                              CENTRAL DISTRICT OF CALIFORNIA
                                      WESTERN DIVISION
 5
                                                        Case No.: 2:11-cv-02392-CBM(JCX)
 6    TIFFANY RADINSKY,
 7                 Plaintiff,                           STIPULATION OF DISMISSAL WITH
             vs.                                        PREJUDICE
 8
      CHEXSYSTEMS, INC.
 9
                   Defendant.
10

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12           Based upon the Stipulation to Dismiss by all appearing parties and pursuant to Fed. R. Civ.
13    P. 41(a)(1), the above reference matter is hereby dismissed with prejudice.
14

15   IT IS SO ORDERED.
16   Dated:October 17, 2011
                                           _________________________________
17
                                           United States District Judge
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                                Stipulation of Dismissal and [Proposed] Order
